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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                  v.                          :      Criminal Case No. 20-cr-165 (JEB)
                                              :
                                              :
KEVIN CLINESMITH,                             :
                                              :
                           Defendant.         :

               STATEMENT OF OFFENSE IN SUPPORT OF GUILTY PLEA

       I.       Summary of the Plea Agreement

       Defendant Kevin Clinesmith agrees to admit guilt and enter a plea of guilty to a one-count

Information charging him with False Statements, in violation of Title 18 U.S.C. § 1001(a)(3).

       II.      Elements of the Offenses

       The essential elements of the offense of False Statements, in violation of Title 18 U.S.C. §

1001(a)(3), each of which the government must prove beyond a reasonable doubt, are:

       1. On or about June 19, 2017, the defendant made or used a false writing or document;

       2. The writing or document contained a statement or entry that was false, fictitious or

             fraudulent;

       3. The statement or entry was material;

       4. The defendant acted knowingly and willfully; and

       5. The writing or document pertained to a matter within the jurisdiction of the executive

             branch or judicial branch of the Government of the United States.




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       III.     Penalties for the Offense

       The penalties for False Statements, in violation of Title 18 U.S.C. § 1001(a)(3), are as

follows:

       (A)      a term of imprisonment not greater than five years;

       (B)      a fine not to exceed $250,000;

       (C)      a term of supervised release of not more than three years, after any period of
                incarceration;

       (D)      a special assessment of $100.

       IV.      Statement of the Facts

       Pursuant to Federal Rule of Criminal Procedure 11, the United States and the defendant,

Kevin Clinesmith, stipulate and agree that had this case gone to trial, the government’s evidence

would prove the following beyond a reasonable doubt:

                A.     Defendant’s Background

       1.       The defendant is a lawyer and was admitted to practice law in November 2007.

       2.       From July 12, 2015 to September 21, 2019, the defendant was employed full-time

with the Federal Bureau of Investigation (“FBI”) as an Assistant General Counsel in the National

Security and Cyber Law Branch of the FBI’s Office of General Counsel. The defendant’s office

was located in the J. Edgar Hoover Building (“Hoover Building”) in the District of Columbia.

       3.       As part of the defendant’s duties and responsibilities, the defendant assisted FBI

Special Agents and Supervisory Special Agents in connection with applications prepared by the

FBI and the National Security Division of the United States Department of Justice (“NSD”) to

conduct surveillance under the Foreign Intelligence Surveillance Act (“FISA”).

                B.     Crossfire Hurricane and the FISA Applications on Individual #1

       4.       On July 31, 2016, the FBI opened a Foreign Agents Registration Act (“FARA”)

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investigation known as Crossfire Hurricane into whether individual(s) associated with the Donald

J. Trump for President Campaign were witting of and/or coordinating activities with the Russian

government. By August 16, 2016, the FBI had opened individual cases under the Crossfire

Hurricane umbrella on four United States persons including a United States person referred to

herein as “Individual #1.”

       5.      The defendant was assigned to provide legal support to FBI personnel working on

Crossfire Hurricane. He was one of the individuals at the FBI who communicated with another

specific United States government agency (the “Other Government Agency” or “OGA”) to raise

questions or concerns for the Crossfire Hurricane team.

       6.      In addition, as part of his responsibilities, the defendant provided support to FBI

Special Agents and Supervisory Special Agents working with the NSD to prepare FISA

applications to obtain authority from the United States Foreign Intelligence Surveillance Court

(“FISC”) to conduct surveillance on Individual #1. There were a total of four court-approved FISA

applications targeting Individual #1: the first application was approved on October 21, 2016

(“FISA #1”), and three renewal applications were approved on January 12, 2017 (“FISA #2”),

April 7, 2017 (“FISA #3”), and June 29, 2017 (“FISA #4”). FISA #4 expired September 22, 2017.

Each of the FISA applications alleged there was probable cause that Individual #1 was a knowing

agent of a foreign power, specifically Russia.

               C.     Individual #1’s Prior Relationship With Another Government Agency

       7.      On August 17, 2016, prior to the approval of FISA #1, the OGA provided certain

members of the Crossfire Hurricane team a memorandum (“August 17 Memorandum”) indicating

that Individual #1 had been approved as an “operational contact” for the OGA from 2008 to 2013

and detailing information that Individual #1 had provided to the OGA concerning Individual #1’s



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prior contacts with certain Russian intelligence officers. As noted below, the defendant told the

Department of Justice Office of the Inspector General (“DOJ OIG”) that he did not recall reviewing

the August 17 Memorandum and he did not have access to it at the Office of General Counsel

office space. However, the document, which was located at another location at the Hoover

Building, was available to the Special Agents and Supervisory Special Agents on the Crossfire

Hurricane team, and the defendant, upon request.

         8.       The first three FISA applications did not include Individual #1’s history or status

with the OGA.

         9.       Prior to the submission of FISA #4, Individual #1 had publicly stated that he/she

had assisted the United States government in the past. During the preparation of FISA #4, an FBI

Supervisory Special Agent (“SSA”), who was the affiant on FISA #4, asked the defendant to

inquire with the OGA as to whether Individual #1 had ever been a “source” for the OGA.

         10.      The defendant knew that if Individual #1 had been a source with the OGA,

that information would need to be disclosed in the FISA renewal request. In a voluntary interview

with the DOJ OIG, the defendant stated there was “a big, big concern from both [the NSD’s Office

of Intelligence] 1 and from the FBI that we had been targeting a source, because that should never

happen without us knowing about it.” The defendant indicated he knew that if it were true, they

would “need to provide [the information] to the court” because such information would

“drastically change[] the way that we would handle ... [the] FISA application.”

         11.      On June 15, 2017, the defendant sent an email to a liaison from the OGA (“OGA

Liaison”), stating: “We need some clarification on [Individual #1]. There is an indication that he


1
  The Office of Intelligence is responsible for preparing and filing all applications for Court orders pursuant to FISA,
and working with the FBI to do so.



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may be a “[digraph]” 2 source. This is a fact we would need to disclose in our next FISA renewal…

To that end, can we get two items from you? 1) Source Check/Is [Individual #1] a source in any

capacity? 2) If he is, what is a [digraph] source (or whatever type of source he is)?”

        12.      Later that same day, the OGA Liaison responded by email in which the liaison

provided the defendant with a list (but not copies) of OGA documents. That list included a

reference to the August 17 Memorandum the OGA had previously provided to certain members of

the Crossfire Hurricane team. The liaison also wrote that the OGA uses

        the [digraph] to show that the encrypted individual...is a [U.S. person]. We encrypt
        the [U.S. persons] when they provide reporting to us. My recollection is that
        [Individual #1] was or is ... [digraph] but the [documents] will explain the details.
        If you need a formal definition for the FISA, please let me know and we’ll work up
        some language and get it cleared for use.

        13.      The defendant subsequently responded that same day to the OGA Liaison via email

with “Thanks so much for that information. We’re digging into the [documents] now, but I think

the definition of the [digraph] answers our questions.”

        14.      In one of the defendant’s voluntary interviews with DOJ OIG, he stated he “didn’t

know the details of . . . the content of the [documents identified in the liaison’s email]” and “didn’t

have access to [those documents] in the [Office of General Counsel] space.” He further stated that

he did not recall ever reviewing the documents referenced in the liaison’s email. However, the

documents, which were located at another location at the Hoover Building, were available to the

Special Agents and Supervisory Special Agents on the Crossfire Hurricane team, and the

defendant, upon request.

        15.      On June 19, 2017, SSA followed up with an instant message to the defendant and

asked, “Do you have any update on the [OGA source] request?” During a series of instant messages


2
  The OGA uses a specific two-letter designation, or digraph, to describe a U.S. person who has been approved by
the OGA for “operational contact.”

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between the defendant and the SSA, the defendant indicated that Individual #1 was a “subsource”

and “was never a source.” The defendant further stated “[the OGA] confirmed explicitly he was

never a source.” The SSA subsequently asked “Do we have that in writing.” The defendant

responded he did and that he would forward the email that the OGA provided to the defendant.

                 D.     Defendant’s False Statement

       16.       On June 19, 2017, immediately following the instant messages between the

defendant and the SSA, the defendant, from his office in the Hoover Building, forwarded the OGA

Liaison’s June 15, 2017 email to the SSA with alterations that the defendant had made so that the

OGA Liaison’s email read as follows:

             My recollection is that [Individual #1] was or is “[digraph]” and not a
             “source” but the [documents] will explain the details. If you need a formal
             definition for the FISA, please let me know and we’ll work up some
             language and get it cleared for use

(emphasis added). The defendant had altered the original June 15, 2017 email from the OGA

Liaison by adding the words “and not a source” to the email, thus making it appear that the OGA

Liaison had written in the email that Individual #1 was “not a source” for the OGA. Relying on

the altered email, the SSA signed and submitted the application to the Court on June 29, 2017. The

application for FISA #4 did not include Individual #1’s history or status with the OGA.

       17.       In truth, and in fact, and as the defendant well knew, the original June 15, 2017

email from the OGA Liaison did not contain the words “not a source,” and therefore, when the

defendant altered and forwarded the email on June 19, 2017, the defendant made and used a writing

or document, specifically an email, that contained a statement or entry he knew was materially

false; in doing so the defendant acted knowingly and willfully; and the email pertained to a matter

within both the jurisdiction of the executive branch and judicial branch of the Government of the

United States.

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